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                             UNITED STATES JUDICIAL PANEL                          Jan 06 2021
                                          on
                              MULTIDISTRICT LITIGATION
                                                                                      s/ Josepht



IN RE: MIDLAND CREDIT MANAGEMENT,
INC., TELEPHONE CONSUMER PROTECTION
ACT (TCPA) LITIGATION
       Arora v. Midland Credit Management, Inc. et al.,       )
              S.D. California, C.A. No. 3:15-01712            )                      MDL No. 2286
              (N.D. Illinois, C.A. No. 1:15-06109)            )


          ORDER LIFTING STAY OF CONDITIONAL REMAND ORDER
       AND VACATING THE JANUARY 28, 2021, HEARING SESSION ORDER


       A conditional remand order was filed in the above-listed action (Arora) on November 23,
2020. Prior to expiration of that order’s 7-day stay of transmittal, plaintiff in Arora filed a notice
of opposition to the proposed remand. The Panel has now been advised that plaintiff has withdrawn
his opposition to remand.

       IT IS THEREFORE ORDERED that the stay of the Panel's conditional remand order filed
on November 23, 2020, is LIFTED insofar as it relates to this action. The action is remanded to the
Northern District of Illinois.

        IT IS FURTHER ORDERED that the Hearing Session Order and the attached Schedule
filed on December 15, 2020, are VACATED insofar as they relate to this matter.

                                                      FOR THE PANEL:



                                                      John W. Nichols
                                                      Clerk of the Panel
